               Case 2:15-cr-00435-DOC Document 45 Filed 12/12/16 Page 1 of 6 Page ID #:170
                                        United States District Court
                                       Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             CR 15-0435-DOC

 Defendant            LEOVIGILDO SAYAT                                       Social Security No. 3          4     1     1
          Leovigildo Sayat Jr.
          Leovigildo C. Sayat Jr.
                                                                             (Last 4 digits)
          Leovigildo Dela Cruz Sayat Jr. (true name)
 akas:

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH    DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         12       12     2016

 COUNSEL                                                          Edward M. Robinson, Retained
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
  FINDING
                      18 U.S.C. §§ 1349, 1347: Conspiracy to Commit Health Care Fraud of the Single-Count Information.

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of:

        It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per
quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

         It is ordered that the defendant shall pay restitution in the total amount of $1,272,265.44 pursuant to 18 U.S.C. §
3663A.

         Defendant shall pay restitution in the total amount of $1,272,265.44 to victims as set forth in a separate victim
list prepared by the probation office which this Court adopts and which reflects the Court's determination of the amount
of restitution due to each victim. The victim list, which shall be forwarded to the fiscal section of the clerk's office,
shall remain confidential to protect the privacy interests of the victims.

        A partial payment of $50,000 shall be paid immediately. Restitution shall be due during the period of
imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program. If any amount of the restitution remains unpaid after release from custody, nominal monthly
payments of at least 10 percent of defendant's gross monthly income but not less than $300, whichever is greater, shall
be made during the period of supervised release and shall begin 30 days after the commencement of supervision.
Nominal restitution payments are ordered as the Court finds that the defendant's economic circumstances do not allow
for either immediate or future payment of the amount ordered.




CR-104 (docx 10/15)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 1 of 4
               Case 2:15-cr-00435-DOC Document 45 Filed 12/12/16 Page 2 of 6 Page ID #:171

 USA vs.      LEOVIGILDO SAYAT                                     Docket No.:   CR 15-0435-DOC

       Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does
not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18
U.S.C. § 3612(g).

      The defendant shall be held jointly and severally liable with co-participants Joseff Sales and Danniel Goyena
(Docket No. 15-00576) for the amount of restitution ordered in this judgment. The victims' recovery is limited to the
amount of their loss and the defendant's liability for restitution ceases if and when the victims receive full restitution.

         The defendant shall comply with General Order No. 01-05.

        All fines are waived as the Court finds that the defendant has established that he is unable
to pay and is not likely to become able to pay any fine in addition to restitution.

        Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Leovigildo
Sayat, is hereby committed on Count 1 of the Information to the custody of the Bureau of Prisons for a term of 24
months.

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years
under the following terms and conditions:

       1. The defendant shall comply with the rules and regulations of the United States Probation Office, General
Order 05-02, and General Order 01-05, including the three special conditions delineated in General Order 01-05.

       2. During the period of community supervision, the defendant shall pay the special assessment and restitution in
accordance with this judgment's orders pertaining to such payment.

        3. The defendant shall not be employed by, affiliated with, own, control, volunteer for, or otherwise participate,
directly or indirectly, in any business involving federally funded or state funded health insurance or entitlement
programs without the express written approval of the Probation Officer prior to engaging in such employment.

         4. The defendant shall not be employed in any position that requires licensing and/or certification by any local,
state, or federal agency without the prior written approval of the Probation Officer.

         5. The defendant shall cooperate in the collection of a DNA sample from the defendant.

       6. The defendant shall apply all monies received from income tax refunds to the outstanding Court-ordered
financial obligation. In addition, the defendant shall apply all monies received from lottery winnings, inheritance,
judgments and any anticipated or unexpected financial gains to the outstanding Court-ordered
financial obligation.

       7. The defendant shall submit person and property to search and seizure at any time of the day or night by any
law enforcement officer with or without a warrant and with or without reasonable or probable cause.

         8. The defendant shall report to the United States Probation Office within 72 hours of his release from custody.

       9. The defendant shall report in person directly to the Court within 21 days of his release from custody, at a date
and time to be set by the United States Probation Office, and thereafter report in person to the Court no more than eight
times during his first year of supervised release.


CR-104 (docx 10/15)                      JUDGMENT & PROBATION/COMMITMENT ORDER                                       Page 2 of 6
               Case 2:15-cr-00435-DOC Document 45 Filed 12/12/16 Page 3 of 6 Page ID #:172

 USA vs.      LEOVIGILDO SAYAT                                               Docket No.:       CR 15-0435-DOC

       10. The defendant shall not possess, have under his control, or have access to any firearm, explosive device, or
other dangerous weapon, as defined by federal, state, or local law.

       It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at
or before 12 noon, January 20, 2017. In the absence of such designation, the defendant shall report on or before the
same date and time, to the United States Marshal located at the United States Court House, 411 West Fourth Street,
Santa Ana, California 92701-4516.

       The drug testing condition mandated by statute is suspended based on the Court's determination that the
defendant poses a low risk of future substance abuse. Defendant is ordered not to commit any federal, state or local
crime.

         Defendant advised of right to appeal.

         The Court recommends a facility in Southern California due to close family ties.

         Bond is ordered exonerated upon surrender.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            December 12, 2016
            Date                                                  DAVID O. CARTER, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            December 12, 2016                               By    Deborah Goltz
            Filed Date                                            Deputy Clerk




CR-104 (docx 10/15)                           JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 3 of 6
               Case 2:15-cr-00435-DOC Document 45 Filed 12/12/16 Page 4 of 6 Page ID #:173

 USA vs.      LEOVIGILDO SAYAT                                                     Docket No.:       CR 15-0435-DOC


 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in
 2.    the defendant shall not leave the judicial district without the written           criminal activity, and shall not associate with any person convicted
         permission of the court or probation officer;                                   of a felony unless granted permission to do so by the probation
 3.    the defendant shall report to the probation officer as directed by the            officer;
         court or probation officer and shall submit a truthful and complete     11.   the defendant shall permit a probation officer to visit him or her at
         written report within the first five days of each month;                        any time at home or elsewhere and shall permit confiscation of any
 4.    the defendant shall answer truthfully all inquiries by the probation              contraband observed in plain view by the probation officer;
         officer and follow the instructions of the probation officer;           12.   the defendant shall notify the probation officer within 72 hours of
 5.    the defendant shall support his or her dependents and meet other                  being arrested or questioned by a law enforcement officer;
         family responsibilities;                                                13.   the defendant shall not enter into any agreement to act as an informer
 6.    the defendant shall work regularly at a lawful occupation unless                  or a special agent of a law enforcement agency without the
         excused by the probation officer for schooling, training, or other              permission of the court;
         acceptable reasons;                                                     14.   as directed by the probation officer, the defendant shall notify third
 7.    the defendant shall notify the probation officer at least 10 days prior           parties of risks that may be occasioned by the defendant’s criminal
         to any change in residence or employment;                                       record or personal history or characteristics, and shall permit the
 8.    the defendant shall refrain from excessive use of alcohol and shall               probation officer to make such notifications and to conform the
         not purchase, possess, use, distribute, or administer any narcotic or           defendant’s compliance with such notification requirement;
         other controlled substance, or any paraphernalia related to such        15.   the defendant shall, upon release from any period of custody, report
         substances, except as prescribed by a physician;                                to the probation officer within 72 hours;
 9.    the defendant shall not frequent places where controlled substances       16.   and, for felony cases only: not possess a firearm, destructive device,
         are illegally sold, used, distributed or administered;                          or any other dangerous weapon.




CR-104 (docx 10/15)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                                          Page 4 of 6
               Case 2:15-cr-00435-DOC Document 45 Filed 12/12/16 Page 5 of 6 Page ID #:174

 USA vs.      LEOVIGILDO SAYAT                                                   Docket No.:      CR 15-0435-DOC



      The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
 subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are
 not applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

          The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in
 the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18
 U.S.C. §3563(a)(7).

           Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.

                                SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (docx 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 6
               Case 2:15-cr-00435-DOC Document 45 Filed 12/12/16 Page 6 of 6 Page ID #:175

 USA vs.      LEOVIGILDO SAYAT                                                  Docket No.:       CR 15-0435-DOC



                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date



CR-104 (docx 10/15)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
